935 F.2d 1286Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Larry Donnell KENNEY, Plaintiff-Appellant,v.SUPREME COURT OF VIRGINIA, Attorney General of theCommonwealth of Virginia, Defendants-Appellees.
    No. 91-6525.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 3, 1991.Decided June 19, 1991.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  Robert R. Merhige, Jr., Senior District Judge.  (CA-91-29)
      Larry Donnell Kenney, appellant pro se.
      E.D.Va.
      AFFIRMED.
      Before WIDENER, MURNAGHAN and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Larry Donnell Kenney appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Kenney v. Supreme Court of Virginia, CA-91-29 (E.D.Va. Jan. 16, 1991).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    